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ROBERT M. HOLLEY, ESQ. (SNB 50769)
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Sacramento, California 95833

Telephone: (916) 922-2255

Counsel for Defendant VALERIE ELAINE EHRKE

THE UNITED STATES DISTRICT COURT AND BANKRUPTCY COURTS

FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, Criminal Case No. 21-97 (PLF)
Plaintiff, DEFENSE SENTENCING

Vs MEMORANDUM

VALERIE ELAINE EHRKE, Ee
Defendant.

 

 

 

TO THE HONORABLE PAUL L. FRIEDMAN, UNITED STATES DISTRICT JUDGE
FOR THE DISTRICT OF COLUMBIA and to MR. CHANNING D. PHILLIPS, ESQ.,
UNITED STATES ATTORNEY, and to MR. KEVIN BIRNEY, ESQ., ASSISTANT
UNITED STATES ATTORNEY, DISTRICT OF COLUMBIA

The Defense hereby requests that the Court to follow the recommendation of the United
States Attorney articulated on the record at the time of entry of Ms. Ehrke’s change of plea, and
as set forth on page 17, paragraph 74 of the Presentence Report. It is agreed that the sentencing
guidelines do not apply to this misdemeanor case, that the defendant pay restitution to the
Department of Treasury in the amount of $500, and complete 40 hours of community service.

Because of the nature of Ms. Ehrke’s involvement, the U.S. Attorney also recommends “no jail

time.”

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The case at bar is appropriate for such a sentencing order based upon Ms. Ehrke’s limited
involvement, her record of being an outstanding member of her community, and her remorse in
being involved in any way in what has turned out to be a monumental tragedy.

Attached hereto are letters in support of Ms. Ehrke and other documentation showing her
unselfish involvement in her community, and her commendable profession in architectural
design (all of which were provided to the U.S. Attorney’s Office during negotiation).

The first letter in the packet is from Ms. Ehrke. This letter along with the other letters
and documents were provided to the Probation Department for use in formulating the
presentence report. Ms. Ehrke’s letter (which she wrote completely on her own) clarifies the fact
that she did not come to Washington for any other reason than to listen to the outgoing President
in his final rally. She left early and walked back to her hotel room. While watching television
she learned that people were going into the building. She simply walked over and joined them.
She entered the building only about ten (10) feet. Ms. Ehrke then smelled pepper spray and was
pushed back out. The timing was verified by video subsequent to Ms. Ehrke’s entry of plea. She
did not enter the building until 1:35 p.m. She estimates that she was in the building only about
20 to 30 seconds. It appears that among those charged in this occurrence, Ms. Ehrke was at least
one of the last to enter the building and one of the first to leave — with no other snvolvement:
The ends of justice are satisfied by the sentence described above, and Ms. Ehrke requests that the
Court follow the U.S. Attorney’s recommended sentence.

Dated: September 9, 2021

Respectfully submitted,

“dead. Alea Rk.

Robert M. Holley, Seah
Counsel for Ms. Ehr

 
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INDEX OF EXHIBITS

Valerie Ehrke’s letter of February 14, 2021 (she wrote this letter on her own,
setting forth the circumstances of her involvement in this matter as well as her
community volunteer work etc.)
2. Letter in support from
client to ask why she is

eS

 
  

I called my

   
 

   

3. Letter in support, from Ms x dated February 3, 2021

(emphasizing Valerie’s good heart and community service).

4. Letter in support, fromgs dated March 25, 2021 (This letter appears to
be from someone who knows Valerie from the inside out and provides insight
her background and about how deeply she is committed to this country.)

5. Lettér in support, fro dated February
20, 2021. This letter gives insight not only into Valerie’s relationship with her
family but into how sorry she feels about her involvement in this matter.

6. Letter in support, from ated March 2, 2921. This letter relates to
Valerie’s achievements, and the type of heart she has.

7. Letter in support, from and jointly, dated
February 27, 2021. This letter talks about what a good friend she has been not
only for themselves but the community.

8. Letter in support from i cated February 26, 2021. This letter
attests to her good moral character, professionalism, and volunteer work.

9, Letter in support i+ Se dated February 15, 2021. This letter
is from thn Ms. Ehrke' sii The letter is

particularly insightful concerning Ms. Ehrke’s continuous volunteer work for the
community over the span of many years.

10. Letter in support for [i

GR lated February 19, 2021. This letter is an excellent help in
understanding just how valuable Ms. Ehrke has been for her community - over

the span of many years.

11. Letter in support fro dated February 21, 2021

12. Letter in support from] ated February 16, 2021. This letter is
from a lifetime friend who grew up with Valerie.

13. Letter in support fron They have known her for over 40

years and have great insight into Ms. Ehrke’s character.

14. Letter in support from dated February 11, 2021. Known Ms.
Ehrke for fifteen years and attests to her aid in the community.

15. Letter in support from] ated February 12, 2021. Known her since
1994 and attests to her contributions to the community, integrity and “superior

character.”
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16. Letter in support hor eee) dated February 8, 2021. Bee |
attests to her good character and says that she would “never intentionally make a
choice to do harm to anyone or anything.”

17. Letter in support from dated February 1, 2021. Known Valerie for
15 years and she “would not intentionally do harm to any person or her country”

18. Letter in support fron dated January 28, 2021. Known her
since childhood. Attests to her good moral character.

19. The balance of the exhibit are pictures of some of her architectural work and
certificates.
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February 14, 2021

Valerie Elaine Ehrke

To Whom It May Concern:

| reside in the same town of fewer than 4000 people, that | grew up in. There were about 12 years that |
resided elsewhere. | spent 4 % years living is San Luis Obispo, California while | attended California
Polytechnic University, then several years in Sacramento while working as a project manager/estimator,

before | returned to A ollege City. | raised my almost 23 year old daughter here asa single
mother. My daughte has recently graduated from Oregon State University.

| love the community that | live in and have served on the i’ Committee for 15 or so
years. Our mission is to restore our 19" century train depot, but we also sweep the street on the
second Tuesday of the month, have an annual car show and an annual pumpkin festival, among other
events. | have served as the committee secretary in the past and am currently a member at large.

een me about two years ago if | would
@ willing to apply to serve on the school bond oversight committee, which is an unpaid volunteer

position. | applied and received the position on the committee. We meet quarterly.

| believe the spirit of volunteerism is best served without tooting my own horn, but in an effort to
convince the reader of this letter that | am a fine member of society | will also mention that | have taken
it upon myself to buy trash bags at my own expense and empty the trash can in the Lavanche Hursh
community park that is next to the office space | rent on main street, Arbuckle. The park is owned by
Arbuckle Parks and Rec department. With the extra ‘to-go’ containers generated by Covid-19, the once
a week emptying by APR is not sufficient and when | noticed the can overflowing, | took the matter into
my own hands. | also pick up garbage left behind in the park. | pick up garbage along the street in my
own neighborhood as well. In the words of JFK, “if not us, then who?”

| receive frequent requests to do architectural work for community projects and have done several pro
bono, including but not limited to, the Arbuckle Little League snack bar and announcers stand, the
monument signs at the north and south entrance to the town of Arbuckle, the entrance sign to the town
of College City, architectural drawings for a new building at the Colusa County Fairgrounds among

others.

Arbuckle doesn’t have a stop light in town, nor do we have a single fast food restaurant. | ama small
town girl who loves my town, my state and my country. It is because of this love of country that |
decided to attend the January 6", 2020 rally in DC. | had never seen a sitting president or even an ex
president speak. The only other time I’d been to DC was to help chaperone my daughter's 8" grade trip
to DC a few years ago. | loved that trip. Seeing our country’s buildings and monuments filled me with

pride.

President Trump had been tweeting invitations to attend the January 6" rally in the weeks preceding the
event, but | did not decide to attend until just a few days beforehand. The only plan | had was to go to
the White House Ellipse to listen to President Trump’s speech. He said during his speech that he would

  

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be going to the capitol after he spoke and he asked us to walk there together after his speech. | left his
speech early to walk back to my hotel room because | was cold. Once back in my room, | saw on the
news that people where at the capitol building. The news commentators said that people were inside
the building. Additionally, they said that people were going through the areas of the capitol that were
open to the public anyway. Having travelled a long way to attend this rally, | decided to put on an extra
layer of clothing and walk to the capitol. On my way there | saw about five men walking together. |
decided to walk behind them because | was by myself and if felt safer. | thought they were Proud Boys,
based on what | had seen on TV regarding rallies and protests. | asked one of them if they were Proud
Boys and he said that no, they were three percenters. | had never heard of them and | did not know if
was insulting him or paying him a compliment. As we got closer to the capitol building, | stopped
following that group of men.

Upon my arrival to the capitol building, | walked up to where people were already gathering in front of
doors that were already opened. After a very brief wait, a group of us were let into the building. | was
only inside the building 10’ or so, when we were pushed out of the building. At that time that | could
feel something weird in my throat, that | assumed was pepper spray. It was also at that time that it
became very clear to me that we were not wanted there and that is when | departed. There were
several capitol police along the side of the building when | was leaving. They were not asking anyone to
leave, but because of the pepper spray and being pushed out of the building | concluded that | should

leave,

At no time in the process of making plans to attend the rally, or during my attendance at the rally and
capitol bullding, did | ever think that | was breaking the law. | am not a law breaker. When | was
younger, | got into some trouble and was convicted of selling marijuana. After my 46 days in jail were
served, | swore to myself that | would never ever do anything to get myself in trouble with the law. This
situation really blindsided me because | never had intent to harm or obstruct what was happening inside
the capitol! building. | was not aware of the madness that was happening in senate chambers. | do not
condone that behavior and | am deeply sorry that people lost their lives on that day.

lLinvite the reader of this letter to come to my hometown of Arbuckle and ask anyone in town about me.
95% of the people that know me will say they like me, but | believe in my heart that of the maybe 5%
that may not be fond of me, even they will say | am an honest and good person who is an asset to the

community.

After reviewing this letter and the many character reference letters that | have collected, | pray you will
conclude that the charges against me should be dropped. Please allow me to continue my volunteer
work as well as my regular work where | contribute positively to our society.

Sincerely,

Valerie Elaine Ehrke
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To Whom it May Concern:
Tam writing today regarding Valeric Elaine Eherke
I have known Valeric for most of my life in a personal and professional perspcctive.

Valcric is onc of the most upstanding and reliable people I have ever known. When I was young,
our familics would travel together and my parents entrusted her to take care of me, even allowing
me to travel alone with her to mect our families. She has been a trusted friend, a great sounding

board and a valucd advisor.

Professionally I have worked with Valcric in different capacities for ycars. Shc is reliable,
trustworthy and a dedicated to her craft. She is sought aficr in her professional capacity duc to
her dedication, creatively, good communications skills, problem solving and is a truc visionary.
She is a creative soul with a good business sense.

Personally I have known her to be a valued member of community organizations, always willing
to jump in and take the Icad in local organization and lend her professional know how to
community projects. Shc is an amazing mother who was devoted to her daughter’s education
and always put her first, which is never casy especially being a single mom. When faced with
obstacles in her life it is always amazing to sec her ability to usc sclf reflection and dedication to
become a stronger and better human, which we all could and should do more of.

Valcric is a kind and gencrous person who is a pillar in the community, a valued friend and a
single mom who has raised a smart and thoughtful daughter.

Sincerely yours,

 
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3 February, 2021

To Whom it May Concern:

| write on behalf of Valerie (Val) Ehrke, resident of Arbuckle, California. Val is a life-long friend, and our personal
relationship spans the past twenty years. My earliest memories of Val date to the year 2000. Val guided me in the

poultry portion of the Colusa County anqiimmismall anima here her help and

cirecton zited 1 7 Eee ees re ee scxccric pursits
when } attended college for my undergraduate degrees. As a fellow ESET el en eee

Ro raduate Val offered insight into my academic pursuits and struggles with her stories of grit and.
determination, which served as beacons, aiding in my ability to complete my bachelor's of science degrees from

S an adult Val and | visited each time | returned to Arbuckle during my husband’s

al offered support during my husband's absence, ensuring me of his safety and the importance of my

‘husband's ii The years of support, guidance, and encouragement Val provided are priceless. |
am honored Val is my friend.

 
   
 

| write on behalf of Val to aid in depicting the person she is. Val acknowledges all she does and all she is, and |
respect her highly because of it. Regarding the events in this case, | am proud of Val for exercising her rights to
protest as a US citizen and standing up for her beliefs and the beliefs of the people in her hometown in rural,
northern California. Val is far from violent, and any violence in those events at the capital | am certain were not
initiated by Val. Val does not condone violence against humans, whether they are civilians, law enforcement, or
military personnel. Val is a caring person who values peace and love, as is evident in her community support, law
enforcement support, military support, and civilian care; these values are further exemplified in Val's reserved,
quiet, rural lifestyle. Val is true to who she is as a person, and she is true to her community. She designed a
community park and children's baseball facilities In which several community events were held prior to the
restrictions set forth during the COVID-19 pandemic. Val's patriotism is directly visible in her support of the US
military, which | experienced through our conversations about [EE and his work as em
for law enforcement is directly visible through her actions with the recent, devastating loss of Office
GE's support and admiration for the United States as a nation, and the government entities within it, are
exemplified through her support and encouragement with my work at ae" as a military
GE V2! was proud of my work and proud of my husband for his call to serve his country and our willingness to
sacrifice for the betterment of the United States and all who live here. Val's caring, loving nature shone on me
again in our most recent conversation. Val listened and offered support when | shared with her the pain and anxiety
| experienced through the recent separation from my husband. Val's ability to listen, express support, and inspire
confidence are unmatched. | am grateful Val was present, and will continue to be present, throughout my life. Val's
genuine light and all that she shares with and gives to others is unmatched. Val is an asset to the community.

| appreciate the opportunity to share a small, yet hopefully telling, bit of information about Val and her character.
Should you wish to contact me regarding any of this information, please do not hesitate to do so. Thank you for
your time.

Sincerely,

  
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March 25th, 2021

To Whom it May Concern:

I have known Valerie Ehrke as Val since the late 1970s, and she is truly one of the most caring,
respectful, and genuine people I know. Val and I met al heed - knew from the
mpment I met Val that she would be a life-long friend. Since she was a child Val has been strong,
independent, and respectful to everyone around her. Val never judged another person, and she continues
to be accepting and non-judgmental to this day. Val would drop anything to help a friend in need. She is
that kind of person. I believe in and value Val’s character.

Val went to college for architectural engineering at Cal Poly, San Luis Obispo. When she graduated from
Cal Poly, Val returned to her hometown to start her own business and share her talents with her
community. As an independent, woman-owned business in a male-dominated field, I am proud of Val
for persevering in her education and career. Val supports her community through her business, and her
community supports her. As an independent, single, working mom Val raised her daughter to be a kind,
respectful, caring, accepting person who can persevere under different circumstances. With all her
success, Val continues to be her genuine self. She always promotes her community, respects and values
others, treats others with respect and kindness, and finds the good in all people and situations. She is one
of the most humble people I know, and she appreciates everyone and everything in her life.

In the early 2010s Val and I were chaperones together on a student trip to Washington, D.C. I watched
first-hand as Val was in awe of the monuments, history, and institutions of the United States of America.
Her pride in our country, enthusiasm, and passion were contagious. Val shared these with her own
daughter and the other kids she cared for on the trip. When we paid our respects to the fallen heroes at
Arlington National Cemetery, I saw Val moved to tears of appreciation for their sacrifice and pride in
our great nation. Val’s love for our country was evident throughout the trip just as it is today. We still
talk about how that trip forever changed our lives as proud Americans.

I would like to note that Val is a hard-working, driven, compassionate, and caring person. I have always
considered her to be a good role model for my children. Val exemplifies independence, humility,
kindness, and respect without judgement. Val is living the American dream, and she is proud to be an
American, She has raised a wonderful child, has a successful business, and lives her life with integrity as
a kind, caring, community-focused person. Val inspires me, and our interactions leave me feeling
uplifted and confident. I am blessed to have Val as my life-long friend. Thank you for taking the time to
read my character statement about Val Ehrice.

 

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February 20, 2021

To Whom It May Concern:

Valerie Ehrke is an important and influential member of our family. She is a loving
o my three children ages NE V2: has a unique relationship with each of my
children. She is instrumental in helping me with carpooling, helping my children with their dirt
bikes, and she tutors my high school son with his math assignments and preparing for exams.

My children value their relationship with alerie and she is always available to
support their goals and provide guidance in their decisions. She has been actively involved in
my children’s lives since birth. Valerie supports their endeavors in sports, academics, and
community involvement. She encourages them to make positive and productive decisions in
order to live their best life.

Valerie, my Prothe and I live within ERs of one another and our retired
parents. She is integral in helping my brother and I take care of and entertain our aging parents.
Without her assistance, I would struggle to balance my own job and family, along with

supporting our retired parents. Each one of us want to be available to our parents as needed for
appointments and other their other needs. It is important to have her support, as I balance all of

the aspects of my busy life as a mom, wife, and owner Of REE

Valerie is an adventurous, passionate, and kind person who believes in God, family, and her
country. She would never knowingly cause harm to anyone or anything or break the law. She is

a law-abiding citizen that actively volunteers in our community through the Arbuckle
Resse has been a member of the card for many years
Wi ¢ goal of making our town a better place for every citizen. She provides countless hours

each year of volunteer time working on th oard. The members of our small town
community value her contributions to the various projects and initiatives to create a more
connected community. Valerie has established a thrilling design company in our community and
works with her clients to develop their commercial and residential projects. Her ability to
communicate with others and her caring approach to assist her clients with their design projects
provides a significant value to our community.

    

Valerie may have been gullible to enter the capitol building, but she truly did not believe she was
breaking the law. She has suffered great anguish since the event, realizing that what actually
took place was not what she intended on participating in. She is feeling very heartbroken that
she was unknowingly involved in such a travesty. Valerie is deeply sad and sorry for her part in
the situation and understands the poor decision. She would certainly not make the same decision
in the future.

If I can be of further assistance, please contact me 2 eee

Sincerely,

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March 2,2021

To whom it may concern,

It is my pleasure to write this letter on behalf of Valerie Ehrke. | was introduced to Valerie 20
years ago through my profession. The person | know her to be is a loyal friend who is generous,
soft-hearted, and hard-working. She has a successful architectural business with many highly-
respected clients. In addition to her business, she is a very talented artist. Valerie is a single

mother of a daughter who recently graduated from Oregon State University and is now on her
own career path.

From my perspective, Valerie is a genuinely good person with strong character. My hope is that
you find this information helpful and informative as it relates to the type of person Valerie
Ehrke really is.

Sincerely,

 

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February 27, 2021
RE: Valerie Jean Ehrke
To whom it may concern,

We have known Valerie for 15+ years. We moved to Arbuckle 20 years ago and found early on
what wonderful, supportive, community it is.

We both are small business owners Js a general contractor and Jane is the broker/owner of
2 EI Both businesses are based a: well.

Valerie, has always been, and we believe, will continue to be involved in the community. This is
her home, where she was born and raised. After she graduated from college she came back to
Arbuckle to start her, very successful, drafting and design business. She has spent years
volunteering for the Committee and always a phone call away ifa
helping hand is needed for a local project or event.

always refers his clients to her for their blueprint needs {has personally helped
facilitate her first successful real estate purchase just last year.

We know her well, and can unequivocally state, we hold her in high regards as a person and a
dear friend.

Sincerely,

 

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February 26, 2021

To whom it may concern:

This is a character reference letter for Valerie Elaine Ehrke. I’ve worked with Mis Ehrke as a

professional design specialist for over 7 years. I’m currently working as Ee

with 20 plus experience. I’ve have worked with Valerie on many projects. I’ve always
found her to be professional, honest and of good moral character even under the most frustrating
and difficult situations. I’ve found her to be focused, follow all local codes, laws and ordinances
while working in the northern California area.

Sincerely,

February 26, 2021

  

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February 15, 2021
To Whom It May Concern:

It has been a pleasure to rent an office space in my building to Valeric Ehrke for the last 13
years. Ms. Ehrke is an honest, hard-working small business owner in our Arbuckle, California
community. She is a wonderful tenant, very casy to communicate with and diligent in paying her
rent on tine cach month. Ms. Ehrke has established a thrilling design company in our
community Valerie Ehrke Designs and works with clients on many architectural projects in our
county and beyond. She is a skilled designer and go to person for complex designs for
commercial and residential construction. Ms. Ehrke is a valued member of our community.

Ms. Ehrké and I have worked together for many years as volunteers for ihe ERSREaaoe
von oe a She has served as a board member for over twelve years for

Ms. Ehrke volunteered as the secretary of our committee for four years. This is a vital
position on our board, as the duty of the secretary encompasses many facets such as accurate
accounting of our board meeting minules, communication with the community for JEP rojects,
and detailed documentation Off usiness. She handled the demands of the position with
ease and provided evidence of the various projects that |jjstablished to create a stronger
connection for the citizens of Arbuckle with their community.

As a member of Ms. Ehrke has worked tirelessly on many special projects a RR Pe
the community. Each month, she volunteers with others to “sweep the streets” of Arbuckle lo

clean up neglected areas of town. The volunteers target an area of town to clean up in order to
meet the oal of beautification of our town. Whether it is a cold, windy day or a day of one
hundred degree temperatures, Ms. Ehrke is working alongside her fellow volunteers to create and
maintain a cleaner and more beautiful town.

Over the years, Arbuckle as has been the target of unfortunate graffiti on many buildings and
public areas. Ms. Ehrke has been integral in working with{b cover up the graffiti and
restore the affected buildings and areas to their original condition. Our community is a better
place due to her hard work to eliminate graffiti.

During our annual fundraisers, Ms. Ehrke serves as a lead committee member at our car show
and pumpkin festival in October and our caritas cook off in May. oal is to restore our
town depot to create a community center and museum for the citizens of Arbuckle. All of the
proceeds from our events will make this goal attainable. She has the great responsibility of
handling the money at these various events, Ms. Ehrke is a trustworthy and honest person and
works at each event with the highest integrity.

If] can be of further assistance, please contact me eee eared

Sincerely

 
  

 

  

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February 19, 2021
To Whom It May Concern:

| am writing in reference to Valerie Ehrke, who is appearing before your court in the month of
March 2021.

Valerie asked me to write a character reference letter, but the truth is that | was already
planning on doing so before the request. | feel strongly about Valerie and her future, and | want
to try to make you feel the same way.

| have known Valerie since 2009 as a member of the board of directors for a local non-profit.
Valerie is a person of good character despite her current circumstances. During the time | have
known and worked with Valerie, | have been impressed with her strength of character, her
knowledge and her kindness and willingness to do work within her community. She is a life long
resident of Arbuckle and conducts a professional business here as well. She is highly respected
for her incredible talent as an Architect.

As President of the ommittee, | am tasked with a multitude of projects
within the community surrounded safety, sanitation, growth, etc... Valerie has never hesitated
to assist me with projects at hand. She has continually done pro-bono work to save our non-
profit money. She is truly committed to our community and helping others. We would
absolutely be lost without her.

| know that Valerie is extremely remorseful and wishes to make reparations for her actions. |
ask and sincerely encourage you to give her an opportunity to move forward and continue her
good works for our community by giving her a second chance. | truly believe, as does our entire
committee, as well as so many in our community that she is an honorable individual, and a
valuable member to our town and a good human being. | appreciate your time &

consideration.

 

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February 21, 2021

To Whom [t May Concern:

Re: Valerie Ehrke

T have known the Ehrke family for many years, most notable Valarie.

Valerie is a successful businessperson and community volunteer who has
achieved personal success. She is even tempered, truthful, and cares about her
community.

I stand by Valerie’s character and being a contributing member to her
community.

Sincerely,

 

  

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February 16, 2021

To Whom It May Concern,

It is with much thought and consideration that | write this letter of reference for Valerie
Elaine Ehrke. Our lives have been intertwined since before we were born as our mothers were
best friends. | have known Val in so many capacities, a school classmate, a teammate, a fellow
Cal Poly Mustang, an architect, a community member, a committee member, a mom, and most
importantly one of my dearest and closest friends.

From grammar school through high school Val set herself apart academically, socially
and athletically. She was the nucleus of every team we were a part of, she was whip smart in
the classroom, participated in many clubs and was very well liked by her peers and her
teachers. We both attended and graduated from Cal Poly in the late 1980’s. Val was one of just
a few women in Construction Management. She has gone on to have a very successful career,
and she designed our home in 2002. Val is very well respected in her profession and has built a
very successful business.

In our small town of Arbuckle, Val has been very active in the

Committee. | have worked very closely with | a Aa the [ia
Eee Ve have worked side by side in our parks, community events such as the

car show, or the town’s carnitas cook off. Val has been a leader, a diligent worker, and a great

communicator. | have also been a part of the Ee ea
with Val for over two years. This committee is tasked with overseeing the rebuilding of many

school facilities, including the gymnasium, the Pierce High School multipurpose room, and the
new weight room. Val’s expertise in structures and building have been extremely valuable for
the committee. Her attention to detail has found errors in plans and streamlined some of the

building processes.
Ironically, Val and became moms just about the same time. Val’s daughte EE nd

my daughter giivere also classmates a. BE was always
supported by her mom, and Val raised her as a single mom. as gone on to graduate
from Oregon State University.

As a friend, Val has always been my sounding board and confidant. She has buoyed me
over the years, through life and death, and her steadfastness has given me more comfort then |

could ever describe.
If you have any questions whatsoever, please do not hesitate to contact me.

Sincerely,

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February 16,2021

To whom it may concern:

RE: Valerie Ehrke

We both have known Valerie Ehrke for over 40 years as a good friend, mother, businesswoman and
community member. We were both surprised to hear about her recent case as she has always been a great
citizen of Arbuckle. It is for this reason that we are happy to write a letter of reference for Valerie. We
understand the seriousness of thls matter but want the court to know what a great person she is.

Valerie Ehrke has graduated from Cal Poly with a BS in Construction management. She has raised a beautiful
daughter as a single mother. She has paid for her to go to school at Oregon State where she has received a
BS in bio resource research. Valerie owns her own drafting company in Arbuckle, where she has worked for
18 years. During that time, she has given back to the community by donating countless hours to the

ommittee. Not only serving on their board for 15 years, but also helped raise money &
donated work. Valerie is truly a strong member of the community.

In addition to our friendship, she is such a great upstanding member of the agriculture community. While it
is unfortunate that she has made a bad decision, thus resulting in this case. While we were surprised to hear
of what happened, it comes as no surprise that she is ready to accept responsibly for her actions. | believe
that as we move forward, she will have learned from this experience and help others through this
unfortunate mistake,

It is our sincere hope the court take this letter into consideration at the time of her next hearing. Despite this
current case, we believe that Valerie Ehrke to be an honorable, intelligent and a hugely valuable member of
the Arbuckle community, along with being a great human being.

     
   

Sincerely —

 

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To Whom it May Concern, 02/11/2021
|
It has been my distinct pleasure to have met Ms. Valerie Ehrke some fifteen years ago,

After moving my family here from Upper Michigan and knowing only two people in the entire
state, | cannot state strongly enough that meeting her was one of the most important and
beneficial interactions | could ever have had. We met ona professional level, strangers - and
yet it was Ms. Ehrke’s positivity, grace, and ability, which allowed my fledgling business
(licenced general contractor) to flourish. She has been a constant source of support and
wisdom. | can, unequivocally and with much pride say, we are no longer just colleagues, and
definitely not strangers, ...we are friends, with many years of collaboration and respect

between us.

Ms. Ehrke is a huge part of our society. She’s drawn many of the housing projects in our
county, she helps families realize the dream of home ownership. She was born a neighbor to
many, but has become a friend to many, many more due to her exuberance for life and
generosity. In essence, Ms. Ehrke is a positive and necessary fixture in our Northern

neighborhoods!

1 am writing this on Ms. Ehrke’s behalf because | truly believe in her character. She is
family and community strong. As a whole, | can say this community would not have reached the
successes and growth it has without her, we need her. Further-more, | will attest that Ms. Ehrke
is kind not malicious, she is passionate in her endeavors, and to put it simply, a rarity. She isa

good person! | truly hope “you” see that too.

=——.

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February 12, 2021

 

Re: Valerie Elaine Ehrke

To Whom It May Concern:

| first met Valerie in 1994 when she was hired as a C.A.D. (Computer Aided Drawing) technician.
While we worked for the same company | was impressed with her ability to perform her job duties
in a timely manner and with integrity.

Valerie is currently an Owner/Operator of her own successful business. She is also a single mother
raising a child whom has now graduated college. Valerie’s contributions, along with donated work
and time to the community, are additionally impressive and flattering to the type of person she is.

I genuinely believe Valerie is a person whom possesses attributes of integrity, perseverance,
compassion for others and desire to do the right thing.

In closing and without hesitation | confidently submit this letter to vouch for the superior character
of Valerie Elaine Ehrke!

Should you like additional information about Valerie, you may call me Po

Sincerely,

  

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February 8, 2021

To Whom It May Concern,

First of all, my cordial greeting. I am here at this moment writing to you in
reference to Valerie Elaine Ehrke, who is before the court because of being
charged with Trespassing in a Federal Building.

Valerie asked me to write a reference letter, but the truth is that I was already
planning on doing so before asking me. I sincerely feel very concerned about the
wellbeing and future of Valerie, and my intention is to try to make you understand
my point of view and that of many people who love her.

Valerie is a good person and has always had morality in her actions. She is hard-
working, civic minded and leads by example in her work and daily life. I have
known Valerie over 20 years and I have seen her only grow through her business,
friendships and family.

I have been a business owner for 35+ years and truly admire Valerie’s gifts to
whom she works with. We have all made mistakes we wish we could have
changed, but I believe Valerie would never intentionally make a choice to do harm
to anybody or anything. I believe this to be a lesson learned with much grief.

Thank you for taking your time to read this heart-felt letter.

Sincerely,

 

  

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February 1, 2021

RE: Ms. Valerie Ehrke
To Whom It May Concern:

| have been a rural community building contractor for 27 years and | have known Valerie
Ehrke as a friend and a business associate for 15 of these years, The recent events
taking place in our country are sombering and | found it deeply concerning to hear of
Valerie's potential participation in the events. This is why | have found it extremely
important that | write a letter of character for Ms. Ehrke. | understand the seriousness of
this matter and hope my letter will provide you some insight to the person and business

woman | know.

Ms. Ehrke is a thriving business woman in small town America. She owns Pea]
alifornia. She is professional

and intelligent. No matter the project size Valerie is ready to handle the job with ease
and confidence. She has a large clientele and works diligently to complete jobs in a

timely manner.

In addition to our business partnership, Valerie has been my friend. She is family and
community centered. She has donated both time and money to various community
organizations. Valerie is caring and will do anything in her power to help her community
and her friends and family. These are valued traits in small town America.

lt is with great confidence that | put forth this letter. Valerie is an integral part of our
community as well as my personal business. | am a very good judge of character and |

can say that Valerie would not intentionally do harm to any person or her country.

Sincerely,

   

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January 28, 2021

To Whom it May Concern:

RE: Character Reference for Valerie Ehrke

The aim of this letter is to present the good character of Valerie. We have known each other since
childhood (late 1960's) and attended school together thru High School. Same sporting teams & clubs.

| have hired Valerie for a few different architectural jobs over these last few years for our

businesses... FESSFaee te aig Cece mananaay © pierre ener eal | can confirm that she is

careful, considerate, and efficient. She has always shown professionalism & accuracy as well as attention
to detail for our projects.

She is well-regarded among our community, a person of high integrity and hanesty. We have been
together in situations, and she has always conducted herself with common sense and

compassion. Valerie has been a huge part in the clean-up of Downtown Arbuckle. She volunteers her
time and sweat equity to help make the community a little bit nicer.

She runs a very professiona Ii and is in high demand as she is very knowledgeable &

talented in her field.

| am aware of her charges.. However, | wish to express that this unfortunate situation was most
probably one-of-a-kind.

| hope this letter will give you an idea of her good character and help her get a second chance to prove
this was an unusual occurrence.

Thank you for taking the time to read this letter.

Sincerely,

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